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            EXHIBIT T
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 LILIAN PAHOLA CALDERON JIMENEZ
 and LUIS GORDILLO, et al.,

 Individually and on behalf of all others
                                                                 No. 18-10225-MLW
 similarly situated,

                Plaintiff-Petitioners,
                                                                   REVISED
        v.
                                                                PUBLIC VERSION
 KEVIN K. McALEENAN, et al.,

                Defendants-Respondents.


    MEMORANDUM IN SUPPORT OF MOTION FOR ORDER TO SHOW CAUSE

       A recent detention report on class members has revealed that Respondents have engaged

in continuing violations of the Post Order Custody Review (“POCR”) Regulations. Petitioners

therefore seek an order requiring Respondents to show cause why the Court should not order the

release of the impacted individuals—including                                ,                  ,

                      ,                  ,                       ,

      , and               . Because several of these individuals face imminent removal, and

because Respondents have not agreed to forgo that removal while this issue is before the Court

(Ex. S (July 25, 2019 Email from Larakers to Sewall)), Petitioners also respectfully request that

the Court preserve its jurisdiction over these individuals by requiring them to be released or kept

in the jurisdiction pending this Court’s examination of the issues raised.

                                             BACKGROUND

       On May 8, 2018, this Court recognized that ICE violated the POCR regulations (8 C.F.R.

§ 241.4) with respect to Lucimar de Souza and Eduardo Junqueira. Hearing Tr. (May 8, 2018) at


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Mr.       “no sooner than July 22, 2019.” Ex. B (July 12, 2019 Email from Larakers to

Calderon class counsel).

       On their face, the July 12, 2019 Detention Report and supporting documents show that

ICE has continued systematically violating its obligations under POCR regulations. Specifically,

as in Lucimar De Souza’s case, several detained individuals received POCR reviews in advance

of the date for which their reviews were noticed such that, before the deadline by which they had

been told they would be able to submit documents in support of their release, they were notified

that a decision had been made to continue their detention. It also revealed that ICE continues to

hold custody reviews after the deadline in the regulations, even under ICE’s own interpretation

of that deadline, as several detained individuals did not receive a timely 90-day or 180-day

POCR review. Id. When Petitioners questioned Marcos Charles about these issues at his

deposition on July 16, 2018 (transcript attached as Exhibit C), he was unable to recall the

specifics of any individual case and could not state that a POCR violation had not occurred. 1 See

Ex. C (Charles Dep. Tr.) at 271-320.




1 Mr. Charles stated that he would have to review additional  documents, including an alien’s
“EARM case file” and “A-file” in order to assess whether a POCR violation has occurred. See,
e.g., Ex. C at 281:18-282:7 (“Q. So you think this spreadsheet is not enough information to tell
you about whether there’s been a POCR violation, correct? A. I would have to – the only way to
see if there was a POCR violation … would be by looking at what EARM case file, A-file. That
would be the way – that’s how I would be able to tell. I wouldn’t be able to tell you that
definitively by looking at just these forms in front of me and this spreadsheet.”). Respondents
have refused to produce class members’ EARM case files or A-files in this litigation. See, e.g.,
June 27, 2019 Hr’g Tr. at 50-51, 60 (counsel for Respondents invokes “deliberative process
privilege” and “serious operational concern” for refusal to produce EARM case files or A-files).
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                                          ARGUMENT

I.        This Court should order the government to show cause why the detained individuals
          should not be released.

          A.     Failure to provide notice approximately 30 days prior to review violates the
                 regulations.

          ICE must notify individuals of their custody review “approximately 30 days in advance

of the pending records review so that the alien may submit information in writing in support of

his or her release.” 8 C.F.R. § 241.4(h)(2). Since this Court found that ICE Boston has

committed POCR violations, however, ICE has turned this notice requirement on its head. ICE

now sends notices of custody review almost immediately upon detaining someone, which is

generally about 90 days ahead of when a custody review will be scheduled rather than

“approximately 30 days in advance of the pending records review,” as provided in the regulation.

ICE’s conduct is a short-cut attempt to check a box rather than provide meaningful notice.

Through this conduct, ICE violates both the plain meaning and the purpose of 8 C.F.R.

§ 241.4(h)(2)’s notice requirement with regard to every detained class member (and, it appears,

every post-order detainee).

          B.     Early custody reviews—prior to the opportunity to submit documents—
                 violate the regulations.

          ICE must notify detainees when their POCR review will be conducted so that the

detainee can submit documents in support of his or her release. 8 C.F.R. § 241.4(h)(2). For

many of the individuals listed in the July 12, 2019 Detention Spreadsheet, however, ICE has

conducted POCR reviews and issued a decision to continue detention well before the date set in

the notice for the POCR review. The documents Petitioners received reveal the following:

     •    Mr.                     was given notice on February 14, 2019 that his POCR review
          would occur on or about May 13, 2019, and that he could submit documents to support
          his release “prior to” the May 13, 2019 date. (Ex. F.) However, his POCR review was
          conducted on May 3, 2019—ten days earlier than the noticed date and deadline for

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before he was told it would be conducted in this notice to alien, file custody review … correct?

A. Correct. Q. Was he informed his review would take place early? A. I don’t know. I would

have to look at the case history on this one. A. Was his attorney informed? A. I don’t know.”).

By conducting the review and issuing the detention decision before the date on which the review

was scheduled, ICE has impaired these individuals’ ability to submit documents in support of

their release and has thus undermined the very purpose of the notice.

       C.      Late custody reviews violate the regulations.

       Within 90 days of a detained person receiving a final order of removal, or within 90 days

of detaining a person with a final order of removal (who is outside the “removal period”

described in 8 U.S.C. § 1231(a)(1)(A)), ICE must review that person’s custody. 8 C.F.R.

§ 241.4(a), (k)(1)(i); Dkt. No. 95 at 4-5. If the person is not released, jurisdiction over custody

determinations transfers to ICE headquarters to conduct a second review. Id. § 241.4(k)(2)(ii).

This second review “will ordinarily be conducted at the expiration of the three-month period

after the 90-day review or as soon thereafter as practicable.” Id. It can also be postponed “for

good cause,” and “the reasons for the delay shall be documented in the alien’s custody review

file.” Id. § 241.4(k)(3). Thus, compliance with these regulations would ordinarily result in

second custody reviews occurring within approximately 180 days. Under 8 C.F.R. § 241.4(k)(3),

ICE can delay custody review “if such detainee’s prompt removal is practicable and proper”;

however, “[r]easonable care will be exercised to ensure that the alien’s case is reviewed … if the

alien is not removed from the United States as anticipated at the time review was suspended or

postponed.” Id.

       At least one listed individual, Mr.        , did not receive a timely 90-day review. Mr.

      was detained on October 29, 2018 (Ex. A), and his custody review was noticed for January



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Court. Ex. S. Petitioners therefore request that the Court bar ICE from removing them or

otherwise ordering them to leave the United States pending further order.

                                           CONCLUSION

          ICE has systematically violated the POCR regulations, including by improperly

anticipating or delaying reviews for at least seven of the thirteen currently detained class

members. This is a small fraction of Boston ERO’s detained docket, and these violations are

occurring “in cases that ICE knew would be subject to scrutiny by a federal judge.” Dkt. No. 95

at 11; see also Ex. C (Charles Dep. Tr.) at 320 (“Q. The people we have reporting on is a fraction

of the detained docket, correct? A. Correct. It’s a -- but not of the Calderon class members. Q.

No, of the detained docket, generally. A. Correct. Q. It’s a small fraction? A. (Witness nodding.)

Q. And these are class members in an ongoing litigation, correct? A. Correct. … Q. How many

times do you think there’s been a POCR violation that you don’t know about for the entire

detained docket? … A. I don’t know.”). Without Court intervention, they will persist. Each day

of wrongful detention presents irreparable harm to these individuals and their U.S. citizen

families. Dkt. No. 95 at 10.

          Accordingly, Petitioners respectfully request that this Court enter an order directing

Respondents to show cause why the detained individuals—particularly

     ,                    ,                       ,              ,                           ,

                                        , and              —should not be released from custody.




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Respectfully submitted this 25th day of July, 2019.



                                                     /s/ Kevin S. Prussia

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2019, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF).

                                                       /s/ Kevin S. Prussia
                                                       Kevin S. Prussia




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